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 6

 7

 8                                                        UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

10

11    KIMBERLY BARSAMIAN,                                                        CASE NO. 1:07 CV 00316 OWW-NEW

12                               Plaintiff,                                      STIPULATION FOR PROTECTIVE
                                                                                 ORDER AND ORDER
13    v.

14    CITY OF KINGSBURG, MARTIN SOLIS,
      individually and in his official capacity as a
15    Police Officer for the City of Kingsburg
      Police Department, and DOES 1 through
16    100, inclusive,

17                               Defendants.

18

19                               WHEREAS, Plaintiff, KIMBERLY BARSAMIAN, has requested that the CITY OF

20    KINGSBURG provide the following documents in the course of initial disclosures or discovery:

21                               1.            Kingsburg Police Department Policies and Procedures;

22                               2.            Internal Affairs files and reports relating to Martin Solis and concerning the
                                               incident which is the subject of this suit;
23
                                 3.            Internal Affairs files and reports relating to Martin Solis and concerning a
24                                             matter involving a minor (designated herein as “In re: Tara H” to protect the
                                               privacy of the minor);
25
                                 4.            Personnel file of Martin Solis;
26
                                 5.            Tort Claims relating to Martin Solis;
27
                                 6.            Sealed deposition transcripts of Internal Affairs Department witnesses only
28                                             as to the incident which is the subject of this suit.

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 1                               WHEREAS, the CITY OF KINGSBURG believes, in good faith, that the above-listed

 2    documents contain information that is:

 3                               1.            Confidential, sensitive, or potentially invasive of an individual's privacy
                                               interests as protected by Article I, § 1 to the California Constitution;
 4
                                 2.            Protected from disclosure pursuant to the provisions of California Penal Code §§
 5                                             832.5 and 832.7, as well as Evidence Code § 1045;

 6                               3.            Substantially and sufficiently dissimilar in nature so as to be irrelevant and not
                                               subject to production;
 7
                                 4.            Not generally known or available to the general public; and/or
 8
                                 5.            Not normally revealed to the public or third parties or, if disclosed to third parties,
 9                                             would require such third parties to maintain the information in confidence:

10                               WHEREAS, the parties, by and through their respective counsel of record, agree to the

11    production of specified files and/or documents subject to the provisions of this Stipulation.

12                               IT IS HEREBY STIPULATED, by, among and between the parties hereto through their

13    counsel of record, that the documents described above may be designated as "CONFIDENTIAL" by the

14    City of Kingsburg and produced, if warranted, subject to the following Protective Order:

15                               1.            The Kingsburg Police Department’s Policies and Procedures shall be provided

16    to the Court for an in camera inspection, with the Court to designate those documents, if any, which are

17    subject to disclosure. Those documents ordered to be disclosed and produced after the Court’s in camera

18    review shall be produced, designated, used and handled in the manner set forth in this Stipulation. Those

19    documents not subject to disclosure and production after the Court’s in camera review shall be returned

20    to counsel for the City of Kingsburg.

21                               2.            The Internal Affairs files and reports relating to Martin Solis and concerning the

22    incident which is the subject of this suit shall be produced to counsel for Plaintiff within thirty (30) days

23    from the date that this Stipulation is filed with the Court , to be produced, designated, used and handled

24    in the manner set forth in this Stipulation.

25                               3.            The Internal Affairs files and reports relating to Martin Solis and concerning the

26    In re: Tara H. matter shall be provided to the Court for an in camera inspection, with the Court to

27    designate those documents, if any, which are subject to disclosure. Those documents ordered to be

28    disclosed and produced after the Court’s in camera review shall be produced, designated, used and

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 1    handled in the manner set forth in this Stipulation. Those documents not subject to disclosure and

 2    production after the Court’s in camera review shall be returned to counsel for the City of Kingsburg.

 3                               4.            The personnel file of Martin Solis shall be provided to the Court for an in camera

 4    inspection, with the Court to designate those documents, if any, which are subject to disclosure. Those

 5    documents ordered to be disclosed and produced after the Court’s in camera review shall be produced,

 6    designated, used and handled in the manner set forth in this Stipulation. Those documents not subject to

 7    disclosure and production after the Court’s in camera review shall be returned to counsel for the City of

 8    Kingsburg.

 9                               5.            Tort Claims filed with the City of Kingsburg, and which name Martin Solis as a

10    party to the Tort Claim, if any there be, shall be provided to the Court for an in camera inspection, with

11    the Court to designate those documents, if any, which are subject to disclosure. Those documents ordered

12    to be disclosed and produced after the Court’s in camera review shall be produced, designated, used and

13    handled in the manner set forth in this Stipulation. Those documents not subject to disclosure and

14    production after the Court’s in camera review shall be returned to counsel for the City of Kingsburg.

15                               6.            Sealed deposition transcripts of Internal Affairs Department witnesses, if any, as

16    to the incident which is the subject of this suit shall be produced to counsel for Plaintiff within thirty (30)

17    days from the date that this Stipulation is filed with the Court, to be produced, designated, used and

18    handled in the manner set forth in this Stipulation.

19                               7.            All documents produced under this protective order shall be designated as

20    "CONFIDENTIAL". The disclosed documents shall be used solely in connection with the civil case of

21    Kimberly Barsamian v. City of Kingsburg, et al., Case No. 1:07 CV 00316 OWW-NEW (E.D. Cal.), and

22    in the preparation and trial of this case, or any related motions.

23                               8.            A party producing the documents and materials described above shall designate

24    those materials by affixing a mark labeling them as "CONFIDENTIAL." If any “CONFIDENTIAL”

25    materials cannot be labeled with the aforementioned marking, those materials shall be placed in a sealed

26    envelope or other container that is in turn marked "CONFIDENTIAL" in a manner agreed upon by the

27    disclosing and requesting parties. Documents or copies provided by one party to the other containing

28    CONFIDENTIAL information may be designated by marking the page or pages on which the

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 1    CONFIDENTIAL information appears with the legend "CONFIDENTIAL".

 2                               10.           During the course of any deposition or other proceeding in the course of the

 3    litigation which is the subject matter of this suit, at any time the information sought consists of

 4    "CONFIDENTIAL" information, the court reporter will note said reference on the record and will

 5    thereafter designate that portion of the transcript and/or document involved as "CONFIDENTIAL

 6    INFORMATION" and all such portions of transcripts supplied it shall be so designated.

 7                               If any document or information designated as "CONFIDENTIAL" pursuant to this

 8    Protective Order is used or disclosed during a deposition, that portion of the deposition record reflecting

 9    such material shall be stamped with the appropriate designation and access shall be limited pursuant to

10    the terms of this Protective Order. The Court reporter for the deposition shall mark the deposition

11    transcript cover page and all appropriate pages or exhibits, and each copy thereof, in accordance with

12    paragraph 15 of this Protective Order. Only individuals who are authorized by this Protective Order to see

13    or receive such material may be present during the discussion or disclosure of such material.

14                               It is agreed that counsel will not disclose "CONFIDENTIAL" information except for

15    its use in depositions, trial or with experts. Any exhibits containing CONFIDENTIAL information at

16    any deposition, trial, or other proceeding, will be sealed in a separate envelope, which is marked on the

17    outside, "CONFIDENTIAL".

18                               11.           If "CONFIDENTIAL" information is contained in any responses to

19    interrogatories, other discovery requests, or responses, any memorandum, briefs, affidavits, declaration,

20    or other papers or documents filed by the court, they shall be designated as CONFIDENTIAL

21    information by prominently marking each page containing CONFIDENTIAL information with the

22    legend "CONFIDENTIAL".

23                               12.           All "CONFIDENTIAL" information filed, exchanged or produced during the

24    course of the litigation shall be used solely for the purpose of litigation. Except as otherwise provided in

25    this order, no "CONFIDENTIAL" information shall be disclosed.

26                               13.           Documents or materials designated under this Protective Order as

27    "CONFIDENTIAL" may only be disclosed to the following persons:

28                               a.            Counsel for Plaintiff KIMBERLY BARSAMIAN;

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 1                               b.            Counsel for Defendant MARTIN SOLIS;

 2                               c.            Paralegal, clerical, and secretarial personnel regularly employed by counsel
                                               referred to in subparts (a) and (b) directly above;
 3
                                 d.            Court personnel including stenographic reporters or videographers engaged in
 4                                             proceedings as are necessarily incidental to the preparation for the trial of the civil
                                               action all subject to the restrictions set forth in this Stipulation;
 5
                                 e.            Any expert, investigator or consultant retained in connection with this action,
 6                                             subject to the restrictions set forth in this Stipulation;

 7                               f.            The finder of fact at the time of trial, subject to the court's rulings on in-limine
                                               motions and objections of counsel;
 8
                                 g.            Plaintiff, KIMBERLY BARSAMIAN, only to the extent reasonably necessary
 9                                             to assist her counsel in this litigation or for her counsel to advise her with respect
                                               to the litigation. Plaintiff, KIMBERLY BARSAMIAN, shall not physically
10                                             possess, outside of her counsel’s office, in any physical form, whether paper,
                                               video, audio, electronic or otherwise, any CONFIDENTIAL item and to the
11                                             extent a CONFIDENTIAL item is disclosed to Plaintiff KIMBERLY
                                               BARSAMIAN, she is not to disclose “CONFIDENTIAL” information or
12                                             materials to any other persons without prior court permission or by prior
                                               stipulation by the CITY OF KINGSBURG and SOLIS.
13
                                 14.           Prior to the disclosure of any CONFIDENTIAL information to any person
14
      identified in paragraph 13(e), each such recipient of CONFIDENTIAL information shall be provided
15
      with a copy of this Stipulated Protective Order, which he or she shall read. Upon reading this Stipulated
16
      Protective Order, such person shall acknowledge in writing that he or she has read this Stipulated
17
      Protective Order and shall abide by its terms. Such person must also consent to be subject to the
18
      jurisdiction of the United States District Court, Eastern District of California, with respect to any
19
      proceeding related to enforcement of this Protective Order, including without limitation, any proceeding
20
      for contempt. Provisions of this Protective Order, insofar as they restrict disclosure and use of the material,
21
      shall be in effect until further order of this Court. Plaintiffs shall be responsible for internally tracking the
22
      identities of those individuals to whom copies of documents marked CONFIDENTIAL are given. The
23
      City of Kingsburg may not request the identities of said individuals, however, until the final termination
24
      of the litigation or if it is able to demonstrate a good faith basis that Plaintiff, or an agent thereof, has
25
      breached the Stipulated Protective Order.
26
                                 15.           All documents or materials designated as “CONFIDENTIAL” pursuant to this
27
      Protective Order, and all papers or documents containing information or materials designated as
28

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 1    "CONFIDENTIAL," that are filed with the Court for any purpose shall be filed and served under seal,

 2    with the following statement affixed to the document or other information: "This envelope is sealed

 3    pursuant to order of the Court and contains CONFIDENTIAL Information filed in this case by [name

 4    of party] and is not to be opened or the contents thereof to be displayed or revealed except by order of the

 5    Court."

 6                               16.           The designation of information as "CONFIDENTIAL," and the subsequent

 7    production thereof, is without prejudice to the right of any party to oppose the admissibility of the

 8    designated information.

 9                               17.           A party may apply to the Court for an order that information or materials labeled

10    “CONFIDENTIAL” are not, in fact, CONFIDENTIAL. Prior to so applying, the party seeking to

11    reclassify “CONFIDENTIAL” information shall meet and confer with the producing party. Until the

12    matter is resolved by the parties or the Court, the information in question shall continue to be treated

13    according to its designation under the terms of this Order. The producing party shall have the burden of

14    establishing the propriety of the “CONFIDENTIAL” designation. A party shall not be obligated to

15    challenge the propriety of a confidentiality designation at the time made, and a failure to do so shall not

16    preclude a subsequent challenge thereto.

17                               18.           Additional copies shall be provided for, and requests for further copies shall be

18    made, as set forth in this paragraph 18.

19                               a.            Plaintiff shall notify counsel for the City of Kingsburg the specific number of
                                               copies of documents marked CONFIDENTIAL they seek for production. Said
20                                             number of copies shall constitute the number of copies that Plaintiff reasonably
                                               believes is needed in preparation of their case, including any copies for attorney
21                                             work product, copies for experts, one copy of the Master Binder and copies for
                                               court filings. The City of Kingsburg shall, in a timely manner, produce said
22                                             number of copies to the Plaintiffs.

23                               b.            Plaintiff shall be billed for the copying of the CONFIDENTIAL documents at
                                               the City of Kingsburg's actual cost.
24
                                 c.            If Plaintiff, in good faith, requires additional copies of documents marked
25                                             “CONFIDENTIAL” in preparation of their case, they shall make a further
                                               request to counsel for the City of Kingsburg.
26
                                 d.            Upon agreement with counsel for the City of Kingsburg, copies will be produced
27                                             in a timely manner to Plaintiff, pursuant to the procedures of this Stipulated
                                               Protective Order. Agreement shall not be unreasonably withheld by counsel for
28                                             the City of Kingsburg.

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 1                               e.            The City of Kingsburg shall produce CONFIDENTIAL information to Plaintiff
                                               with a red marking labeled "Kimberly Barsamian, USDC Case No. 1:07 CV
 2                                             00316 OWW NEW."

 3                               19.           Notwithstanding the provisions of paragraph 13, CONFIDENTIAL information

 4    produced pursuant to this Protective Order may not be delivered, exhibited or otherwise disclosed to any

 5    reporter, writer or employee of any trade publication, newspaper, magazine or other media organization.

 6                               20.           Should any information designated CONFIDENTIAL be disclosed, through

 7    inadvertence or otherwise, to any person not authorized to receive it under this Protective Order, the

 8    disclosing person(s) shall promptly (a) inform the City of Kingsburg of the recipient(s) and the

 9    circumstances of the unauthorized disclosure to the relevant producing person(s), (b) use best efforts to

10    bind the recipient(s) to the terms of this Protective Order and (c) use all efforts to retrieve any and all

11    copies of the unauthorized disclosure or document. No information shall lose its CONFIDENTIAL status

12    because it was disclosed to a person not authorized to receive it under this Protective Order. Absent a

13    showing of good cause for the unauthorized disclosure, the City of Kingsburg reserves the ability to bring

14    a motion for contempt for violation of this Stipulation.

15                               21.           After the conclusion of this litigation, all documents, in whatever form stored or

16    reproduced, containing “CONFIDENTIAL” information will remain CONFIDENTIAL, and if filed

17    with the Court, shall remain under seal. All parties also ensure that all persons to whom

18    “CONFIDENTIAL” documents were disclosed shall be returned to counsel for the producing party. The

19    conclusion of this litigation means a termination of the case following applicable post-trial motions,

20    appeal and/or retrial. After the conclusion of this litigation, all CONFIDENTIAL documents received

21    under the provisions of this Protective Order, including all copies made, shall be tendered back to the

22    attorneys for the City of Kingsburg in a manner in which the City of Kingsburg will be able to reasonably

23    identify that all documents were returned.

24                               22.           This Protective Order shall remain in full force and effect and shall continue to

25    be binding on all parties and affected persons after this litigation terminates, subject to any subsequent

26    modifications of this Protective Order for good cause shown by this Court or any Court having jurisdiction

27    over an appeal of this action. After this action terminates, any party may seek to modify or dissolve this

28    Protective Order by Court order for good cause shown or by the parties' stipulation.

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 1                               23.           Defendant Martin Solis specifically agrees and affirms that he consents to the

 2    disclosure and use of the documents and information to be produced pursuant to this Stipulation and that

 3    he shall not initiate a claim or an action of any type, against the City of Kingsburg or the Plaintiff or their

 4    respective attorneys, agents, employees, investigators, consultants and experts as a result of the City of

 5    Kingsburg’s disclosure of CONFIDENTIAL documents, pursuant to this protective order or further order

 6    of the court.

 7                               24.           The Court shall retain jurisdiction, even after this lawsuit terminates, (a) to make

 8    such amendments, modifications and additions to this Protective Order as it may from time to time deem

 9    appropriate upon good cause shown and (b) to adjudicate any dispute respecting improper use or

10    disclosure of CONFIDENTIAL material.

11                                                                              “CITY OF KINGSBURG”

12                                                                              OVERSTREET & ASSOCIATES

13

14    DATE: July 19, 2007                                               By:     /s/ Alfred A. Gallegos
                                                                                ALFRED A. GALLEGOS
15                                                                              Attorneys for Defendant,
                                                                                CITY OF KINGSBURG
16

17
                                                                                “MARTIN SOLIS
18
                                                                                JACOBSON, HANSEN, NAJARIAN &
19                                                                              McQUILLAN

20

21    DATE: July 20, 2007                                               By:     /s/ Karen L. Lynch
                                                                                KAREN L. LYNCH
22                                                                              Attorneys for Defendant,
                                                                                MARTIN SOLIS
23
                                                                                “KIMBERLY BARSAMIAN
24
                                                                                KAPETAN BROTHERS
25

26
      DATE: July 20, 2007                                               By:     /s/ Peter Kapetan
27                                                                              PETER KAPETAN
                                                                                Attorneys for Plaintiff,
28                                                                              KIMBERLY BARSAMIAN

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 1    Approved as to Form:

 2    DATE: July 20, 2007                                               KAHN, SOARES & CONWAY

 3

 4                                                                      By:       /s/ Rissa A. Stuart
                                                                                 Michael J. Noland
 5                                                                               Rissa A. Stuart
                                                                                 City Attorney for the City of Kingsburg
 6

 7                                                                    ORDER

 8                               Based on the foregoing Stipulation of the parties, and good cause having been found, IT

 9    IS HEREBY ORDERED that a protective order is hereby issued as to the following documents:

10                               1.            Kingsburg Police Department Policies and Procedures;

11                               2.            Internal Affairs files and reports relating to Martin Solis and concerning the
                                               incident which is the subject of this suit;
12
                                 3.            Internal Affairs files and reports relating to Martin Solis and concerning a matter
13                                             involving a minor (designated herein as “In re: Tara H” to protect the privacy of
                                               the minor);
14
                                 4.            Personnel file of Martin Solis;
15
                                 5.            Tort Claims relating to Martin Solis;
16
                                 6.            Sealed deposition transcripts of Internal Affairs Department witnesses only as to
17                                             the incident which is the subject of this suit.

18                               IT IS FURTHER ORDERED that production of the documents listed above, shall be as

19    follows:

20                               1.            The Kingsburg Police Department’s Policies and Procedures shall be provided
                                               to the Court for an in camera inspection within thirty (30) days from the date that
21                                             this Stipulation is signed by the Court, with the Court to designate those
                                               documents, if any, which are subject to disclosure. Those documents ordered to
22                                             be disclosed and produced after the Court’s in camera review shall be produced,
                                               designated, used and handled in the manner set forth in this Stipulation. Those
23                                             documents not subject to disclosure and production after the Court’s in camera
                                               review shall be returned to counsel for the City of Kingsburg.
24
                                 2.            The Internal Affairs files and reports relating to Martin Solis and concerning the
25                                             incident which is the subject of this suit shall be produced to counsel for Plaintiff
                                               within thirty (30) days from the date that this Stipulation is signed by the Court,
26                                             to be produced, designated, used and handled in the manner set forth in this
                                               Stipulation.
27
                                 3.            The Internal Affairs files and reports relating to Martin Solis and concerning the
28                                             In re: Tara H. matter shall be provided to the Court for an in camera inspection

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 1                                            within thirty (30) days from the date that this Stipulation is signed by the Court,
                                              with the Court to designate those documents, if any, which are subject to
 2                                            disclosure. Those documents ordered to be disclosed and produced after the
                                              Court’s in camera review shall be produced, designated, used and handled in the
 3                                            manner set forth in this Stipulation. Those documents not subject to disclosure
                                              and production after the Court’s in camera review shall be returned to counsel for
 4                                            the City of Kingsburg.

 5                              4.            The personnel file of Martin Solis shall be provided to the Court for an in camera
                                              inspection within thirty (30) days from the date that this Stipulation is signed by
 6                                            the Court, with the Court to designate those documents, if any, which are subject
                                              to disclosure. Those documents ordered to be disclosed and produced after the
 7                                            Court’s in camera review shall be produced, designated, used and handled in the
                                              manner set forth in this Stipulation. Those documents not subject to disclosure
 8                                            and production after the Court’s in camera review shall be returned to counsel for
                                              the City of Kingsburg.
 9
                                5.            Tort Claims filed with the City of Kingsburg, and which name Martin Solis as a
10                                            party to the Tort Claim, if any there be, shall be provided to the Court for an in
                                              camera inspection within thirty (30) days from the date that this Stipulation is
11                                            signed by the Court, with the Court to designate those documents, if any, which
                                              are subject to disclosure. Those documents ordered to be disclosed and produced
12                                            after the Court’s in camera review shall be produced, designated, used and
                                              handled in the manner set forth in this Stipulation. Those documents not subject
13                                            to disclosure and production after the Court’s in camera review shall be returned
                                              to counsel for the City of Kingsburg.
14
                                6.            Sealed deposition transcripts of Internal Affairs Department witnesses, if any, as
15                                            to the incident which is the subject of this suit shall be produced to counsel for
                                              Plaintiff within thirty (30) days from the date that this Stipulation is filed with the
16                                            Court, to be produced, designated, used and handled in the manner set forth in
                                              this Stipulation.
17

18                              IT IS FURTHER ORDERED that the handling, sharing, disclosure, presentation, labeling,

19   marking, review, copying and use in any way by the parties shall be in the manner set forth in paragraphs

20   7 to 21, inclusive, above.

21                              IT IS FURTHER ORDERED that the Court shall retain jurisdiction, even after this

22   lawsuit terminates, to:

23                              1.            to make such amendments, modifications and additions to this Protective Order
                                              as it may from time to time deem appropriate upon good cause shown; and
24
                                2.            to adjudicate any dispute respecting improper use or disclosure of
25                                            CONFIDENTIAL material.

26   IT IS SO ORDERED.

27   Dated: July 23, 2007                                                   /s/ Oliver W. Wanger
     emm0d6                                                            UNITED STATES DISTRICT JUDGE
28

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